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                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
22 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,                                      [PROPOSED] ORDER GRANTING
23                                                          MOTION FOR PRELIMINARY
                          Plaintiffs,
                                                            APPROVAL OF PROPOSED
24                 v.                                       CONSENT DECREE
25 UNITED STATES OF AMERICA FEDERAL                         Date:     December 17, 2024
     BUREAU OF PRISONS et al.,                              Time:     2:00 p.m.
26                                                          Crtrm.: 1, 4th Floor
                          Defendants.                       Judge: Hon. Yvonne Gonzalez Rogers
27
                                                            Trial Date:       June 23, 2025
28
     [4614672.5]                                                          Case No. 4:23-cv-04155-YGR
                        [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF
                                          PROPOSED CONSENT DECREE
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 1                 The parties have entered into a Proposed Consent Decree that was filed as Exhibit 1
 2 to the Declaration of Kara Janssen in Support of Plaintiff’s Unopposed Motion for
 3 Preliminary Approval of Proposed Consent Decree, which would settle all claims for
 4 injunctive relief in this case. The parties have submitted a Proposed Notice to the Class
 5 Members, attached as Exhibit 2 to the Declaration of Kara Janssen in Support of the
 6 Motion for Preliminary Approval. This Court has presided over the proceedings in the
 7 above-captioned action and has reviewed all of the pleadings, records, and papers on file
 8 and finds that, good cause appearing, IT IS ORDERED as follows:
 9                 1.     This action is determined to be properly maintained as a class action
10 pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure. The Court has already
11 certified a class defined as “[a]ll people who are now, or will be in the future, incarcerated
12 at FCI Dublin and subject to FCI Dublin’s uniform policies, customs, and practices
13 concerning sexual assault, including those policies, customs, and practices related to care
14 in the aftermath of an assault and protection from retaliation for reporting an assault.”
15 (ECF No. 222). The Court approves the Parties’ revised class definition of “all people
16 who were incarcerated at FCI Dublin between March 15, 2024 and May 1, 2024, and all
17 named Plaintiffs.”
18                 2.     The Proposed Consent Decree falls within the range of possible approval and
19 is sufficiently fair to warrant the dissemination of notice to the Class Members apprising
20 them of the settlement.
21                 3.     The Proposed Consent Decree is the product of arm’s-length, serious,
22 informed, and non-collusive negotiations between experienced and knowledgeable counsel
23 who have actively prosecuted and defended this litigation.
24                 4.     The Proposed Consent Decree is granted preliminary approval and
25 incorporated herein by this reference, and has the full force and effect of an order of the
26 Court.
27                 5.     Within two (2) business days after this Order granting Preliminary Approval,
28 the written notice of settlement (the “Notice”) and the Proposed Consent Decree shall be
     [4614672.5]                                     1                    Case No. 4:23-cv-04155-YGR
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 1 disseminated to the Class Members in written form by the BOP. The Notice informs Class
 2 Members that there is no right to opt-out of the Class. The Notice constitutes valid, due,
 3 and sufficient notice to the Class Members, constitutes the best notice practicable under the
 4 circumstances, and complies fully with the requirements of Rule 23 of the Federal Rules of
 5 Civil Procedure. The Notice apprises Class Members in a fair and neutral way of the
 6 existence of the Proposed Consent Decree and their rights with respect to the Proposed
 7 Consent Decree.
 8                 6.     Dissemination of the Notice as provided above is hereby authorized and
 9 approved, and satisfies the notice requirement of Rule 23(e), the Federal Rules of Civil
10 Procedure, the Constitution of the United States, due process, and any other applicable
11 rule(s) of this Court. The Government must file and serve on Class Counsel a declaration
12 affirming that notice was published as required in this Order.
13                 7.     Any Class Member may enter an appearance on their own behalf in this
14 action through that Class Member’s own attorney (at their own expense), but need not do
15 so. Class Members who do not enter an appearance through their own attorneys will be
16 represented by Class Counsel. Any Class Member may object to the Proposed Consent
17 Decree by submitting an objection by January 31, 2025. Class Counsel will respond to any
18 timely-filed objections not later than February 7, 2025 in the context of filing the Motion
19 for Final Approval.
20                 8.     The Court will consider written communications when deciding whether to
21 approve the Proposed Consent Decree. Comments must include at the top of the first page
22 the case name, California Coalition for Women Prisoners et al. v. United States of
23 America Federal Bureau of Prisons et al., and case number (4:23-CV-04155-YGR).
24 Comments must be postmarked no later than January 31, 2025, and sent to the following
25 address:
26                                             Clerk of the Court
                                           United States District Court
27                                        Northern District of California
                                          1301 Clay Street, Suite 400S
28                                            Oakland, CA 94612
     [4614672.5]                                     2                    Case No. 4:23-cv-04155-YGR
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 1                 9.      A hearing is appropriate to consider whether this Court should grant final
 2 approval to the Proposed Consent Decree, and to allow adequate time for Class Members,
 3 or their counsel, to support or oppose this settlement.
 4                 10.     A final approval hearing pursuant to Rule 23(e), Federal Rules of Civil
 5 Procedure, will be in the Courtroom of undersigned on February 25 at 2:00 p.m. in the
 6 United States District Court for the Northern District of California, to determine whether
 7 the proposed settlement is fair, reasonable, and adequate, and whether it should be finally
 8 approved by the Court. The hearing may be continued from time to time without further
 9 notice. Party briefs in support of final approval shall be filed on or before February 7,
10 2025
11                 IT IS SO ORDERED.
12
13 DATED: ____________, 2024
                                                       Honorable Yvonne Gonzalez Rogers
14                                                     United States District Judge
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     [4614672.5]                                      3                    Case No. 4:23-cv-04155-YGR
                         [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF
                                           PROPOSED CONSENT DECREE
